            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                               CIVIL NO. 1:05CV81

RONALD BLANCHARD,                    )
                                     )
                  Plaintiff,         )
                                     )
            Vs.                      )           ORDER
                                     )
MBNA AMERICA BANK, N.A.,             )
                                     )
                  Defendant.         )
                                         )

      THIS MATTER is before the Court on the Defendant’s second motion

for an extension of time in which to respond to the Plaintiff’s objections to

the Memorandum and Recommendation. The Plaintiff consents to the

motion.

      For the reasons stated in the motion and for cause shown,

      IT IS, THEREFORE, ORDERED that the Defendant’s motion is

ALLOWED, and the time within which to file response to the Plaintiff’s

objections is extended to and including October 12, 2005.

      The parties are advised this will be the last extension granted by the

Court.




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                    Signed: October 3, 2005




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